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—— / UNITED STATES DISTRICT COUR

for the

District of Columbia

 

 

United States of America )
* 5 Case: 1:21-mj-00371

Traci J. Sunstrum ) Assigned To : Meriweather, Robin M.

DOB: XXXXXX ) Assign. Date : 4/13/2021
) Description: COMPLAINT W/ ARREST WARRANT
)

Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of January 6, 2021 in the county of in the

 

 

in the District of Columbia __, the defendant(s) violated:

Code Section Offense Description

18 U.S.C. § 1752(a)(1)(Entering and Remaining in a Restricted Building or Grounds) ,

18 U.S.C, § 1752(a)(2)(Disorderly and Disruptive Conduct in a Restricted Building or Grounds) ,
40 U.S.C. § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Building) ,

40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).

This criminal complaint is based on these facts:

See attached statement of facts.

iM Continued on the attached sheet.

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Complainant's signature

Matthew Wade, Special Agent

Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1

by telephone.

Judge ’s signature

Date: 04/13/2021

 

City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge
Printed name and title

 
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Case: 1:21-mj-00371

Assigned To : Meriweather, Robin M.
Assign. Date : 4/13/2021
Description: COMPLAINT W/ ARREST WARRANT

STATEMENT OF FACTS

1. Your affiant, Matthew Wade, is a Supervisory Customs and Border Protection
Officer with U.S. Customs and Border Protection and a Task Force Officer with the Federal Bureau
of Investigation (FBI) assigned to the Joint Terrorism Task Force in the Buffalo Field Office.
Currently, I am tasked with investigating criminal activity in and around the Capitol grounds on
January 6, 2021. As a Task Force Officer, I am authorized by law or by a Government agency to
engage in or supervise the prevention, detention, investigation, or prosecution of a violation of
Federal criminal laws.

2. The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions
around the U.S. Capitol include permanent and temporary security barriers and posts manned by
U.S. Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed
to members of the public.

Incursion at the U.S. Capitol on January 6, 2021

3. On January 6, 2021, a joint session of the United States Congress convened at the
United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint
session, elected members of the United States House of Representatives and the United States
Senate were meeting in separate chambers of the United States Capitol to certify the vote count of
the Electoral College of the 2020 Presidential Election, which had taken place on November 3,
2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately
1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

4, As the proceedings continued in both the House and the Senate, and with Vice
President Mike Pence present and presiding over the Senate, a large crowd gathered outside the
U.S. Capitol. As noted above, temporary and permanent barricades were in place around the
exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep
the crowd away from the Capitol building and the proceedings underway inside.

5. At such time, the certification proceedings were still underway and the exterior
doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.
Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,
shortly around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

6. Shortly thereafter, at approximately 2:20 p.m. members of the United States House
of Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

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Case 1:21-mj-05109-MJR Document1 Filed 05/19/21 Page 3 of 10

President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

7, During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

Facts Specific to TRACI SUNSTRUM

8. Following the January 6, 2021 attack on the Capitol, your affiant received and
reviewed multiple tips submitted by members of the public. On January 12, 2021, law enforcement
receivedan anonymous tip that TRACI SUNSTRUM was observed on a Facebook Live steam
from inside the U.S. Capitol building.

9, According to records obtained through a search warrant, which was served on
Google, a mobile device associated with the Google account tjgreenfrog@gmail.com was present
at the U.S. Capitol on January 6, 2021. Google estimates device location using sources, including
GPS data and information about nearby Wi-Fi access points and Bluetooth beacons. This location
data varies in its accuracy, depending on the source(s) of the data. As a result, Google assigns a
“maps display radius” for each location data point. Thus, where Google estimates that its location
data is accurate to within meters, Google assigns a “maps display radius” of 10 meters to the
location data point. Finally, Google reports that its “maps display radius” reflects the actual
location of the covered device approximately 68% of the time. In this case, Google location data
shows that a device associatedwith the Google account tjgreenfrog@gmail.com was within the
U.S. Capitol on January 6, 2021 between the hours of 2:26 p.m. through 2:48 p.m. EST. Google
records showing the “maps display radius” for this location data, which encompasses a latitude
and longitude that are entirely within the U.S. Capitol Building, can be found in Table 1 below:

iD |Latitude Radius DateTime Name SMS | Email

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Table I
10. On February 4, 2021, legal process was served to Google LLC to obtain subscriber
information for Google Account ID: 1015952893652 and email tjgreenfrog@gmail.com. On
February 4, 2021, returns from Google LLC indicated that the Google Account ID:
1015952893652 and email account tjgreenfrog@gmail.com were created on December 24, 2010
and subscribed to by TRAC] SUNSTRUM. The returns also listed a backup email address of
tjgreenfrog@hotmail.com and a backup SMS text messaging phone number of +17162638181.
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11. | Upon receiving this information, FBI compared a known image of SUNSTRUM
obtained from the New York State Department of Motor Vehicles on January 27, 2021 to images
and surveillance footage obtained by law enforcement at and around the U.S. Capitol on January
6, 2021. By comparing this photograph to the surveillance footage, your affiant reasonably
believes that the person is TRACI SUNSTRUM.

12. Your affiant reviewed surveillance footage of an individual resembling
SUNSTRUM inside the U.S. Capitol in the interior area of the Upper House Door at 2:45 p.m.
EST. This time is consistent with the time when, according to the Google search warrant, the user of
the Google account tjgreenfrog@gmail.com was within the U.S. Capitol. The Upper House Door
accesses the second floor of the Capitol from the east side of the building. I believe SUNSTRUM
to be the individual seen in Photo | wearing a green jacket and stars-and-stripes pants.

 

Photo 1
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13. Your affiant also reviewed surveillance footage of an individualentering the
Capitol in the area of the Senate Wing Door, at approximately 2:16 p.m. EST, who resembles
SUNSTRUM. (Photo 2).

 

Photo 2

14. An individual wearing the same green jacket and stars-and-stripes pants was
observed on surveillance footage in Statuary Hall at approximately 2:33 p.m. EST (Photos 3 and
4); in the areaof the East Stairs near H208 at approximately 2:44 p.m. EST (photo 5); and in the
area of the MainHall Door near H208 at approximately 2:44 p.m. EST (Photo 6).

 

Photo 5 . Photo 6
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15. Finally, your affiant reviewed a photo of a person whom I believe to be
SUNSTRUM, which was posted on The National Law Journal (www.law.com) under the heading
“Inciting a Riot: Legal Community Erupts in Calls for Trump’s Removal as Mob Storms
Capitol.” I believe this photo (Photo 7), which was taken inside the U.S. Capitol on January6,
2021, shows SUNSTRUM inside the U.S. Capitol:

 

Photo 7

Statement of Probable Cause

16. Based on the foregoing, your affiant submits that there is probable cause to believe
that TRACI] SUNTRUM violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to
(1) knowingly enter or remain in any restricted building or grounds without lawful authority to
do so; and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes
or disrupts the orderly conduct of Government business or official functions; or attempts or
conspires to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a
posted, cordoned off, or otherwise restricted area of a building or grounds where the President or
other person protected by the Secret Service, including the Vice President, is or will be
temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

17. Your affiant submits there is also probable cause to believe that TRACI
SUNTRUM violated 40 U.S.C. § 5104(e)(2)(D) & (G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or
the orderly conduct in that building of a hearing before, or any deliberations of, a committee of
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Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the
Capitol Buildings.

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MATTHEW WADE, Task Force Officer
Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

telephone, this 13th day of April 2021.
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ROBIN M. MERIWAETHER,
U.S. MAGISTRATE JUDGE

 
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AO 442 (Rev. 11/11) Arrest Warrant

 

UNITED STATES DISTRICT COURT

 

for the
District of Columbia
United States of America
; “ Case: 1:21-mj-00371
Traci J. Sunstrum ) Assigned To : Meriweather, Robin M.

) Assign. Date : 4/13/2021
) Description: COMPLAINT W/ ARREST WARRANT
)

Defendant

ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) Traci J. Sunstrum 5
who is accused of an offense or violation based on the following document filed with the court:

 

[ Indictment  Superseding Indictment Ol Information ( Superseding Information WM Complaint

() Probation Violation Petition C Supervised Release Violation Petition Violation Notice © Order of the Court
This offense is briefly described as follows:

18 U.S.C. § 1752(a)(1)(Entering and Remaining in a Restricted Building or Grounds);

18 U.S.C. § 1752(a)(2)(Disorderly and Disruptive Conduct in a Restricted Building or Grounds);
40 U.S.C. § 5104(€)(2)(D) (Disorderly Conduct in a Capitol Building);

40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or Picketing in a Capitol Building).

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Date: 04/13/2021
Issuing officer's signature
City and state: Washington, D.C. Robin M. Meriweather, U.S. Magistrate Judge
Printed name and title
Return
This warrant was received on (date) __, and the person was arrested on (date)

at (city and state)

 

Date:

 

Arresting officer's signature

 

Printed name and title

 

 

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

TRACI J. SUNSTRUM,

Defendant.

 

CASE NO:
VIOLATIONS:

18 U.S.C. § 1752 (a)(1)
(Knowingly Entering or Remaining in any Restricted
Building or Grounds Without Lawful Authority)

18 U.S.C. § 1752(a)(2)
(Disorderly and Disruptive Conduct in a Restricted
Building or Grounds)

40 U.S.C. § 5104(e)(2)(D)
(Disorderly Conduct and Parading, Demonstrating,
or Picketing in a Capitol Building)

40 U.S.C. § 5104(e)(2)(G)
(Parading, Demonstrating, or Picketing in a Capitol
Building)

 

ORDER

This matter having come before the Court pursuant to the application of the United States

to seal criminal complaint, the Court finds that, because of such reasonable grounds to believe the

disclosure will result in flight from prosecution, destruction of or tampering with evidence,

and serious jeopardy to the investigation, the United States has established that a compelling

governmental interest exists to justify the requested sealing.

1, IT IS THEREFORE ORDERED that the application is hereby GRANTED, and that

the affidavit in support of criminal complaint and other related materials, the instant application to

seal, and this Order are sealed until the arrest warrant is executed.

2. IT IS FURTHER ORDERED that the Clerk’s office shall delay any entry on the
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public docket of the arrest warrant until it is executed.

So ~ Mfesuor—

ROBIN M. MERIWEATHER
UNITED STATES MAGISTRATE JUDGE

Date: April 13,2021

 

cc: JACOB J. STRAIN
Assistant United States Attorney
US. Attorney’s Office for the District of Columbia
555 4th Street, N.W.
Washington, D.C. 20530
